           Case 3:13-cr-00418-AJB                       Document 84               Filed 06/11/13              PageID.282              Page 1 of 4


     ""AD 245B (CASD) (Rev li12) Judgment in a Criminal Case
               Sheet I



                                              UNITED STATES DISTRICT COU~jdJU!l I I PH 3:23
                                                                RN
                    UNITED STATES OF A:E::: DISTRIC::;~~~::;ciuMtNAL CASE
                                        V.                                         (For Offenses Committed On or, After November I, 1 7)
                                                                                                                                               f!­
                                                                                                           y-,--+--                  ".,.,
                           SERGIO CUEVAS (0 I)                                     Case Number: 13CR0418-AJ
                                                                                   Chloe S, Dillon FD
                                                                                   Defendant's Attorney
    REGISTRATION NO. 37265298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) One of the Superseding Infonnation

    o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+-___________
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offi se(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1324(a)(1)(A)(ii)                Attempted Transportation of Illegal Aliens                                                               1




        The defendant is sentenced as provided in pages 2 through _ _.. ;. 4_ _ o f this judgment The sen ence is imposed pursuant
  o
 to the Sentencing Refonn Act of 1984.
      The defendant has been found not guilty on count(s)
                                                       -----------------~-----------
                                                                          IV!          0
  ICI Count(s)_e_m_al_n_tn.:::;g_o_un_t_s_
  1)(1         R      .. C                 _ _ _ _ _ _ _ _ _ _ _ _ _ is are~ dismissed on he motion of the United States.

  181 Assessment: $100.00


  Igj Fine waived                                   o   Forfeiture pursuant to order filed
                                                                                                 -------+-- , included herein,
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days f any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully pa d. Ifordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendanfs economic ci cumstances.




                                                                                                                                               13CR0418-AJB
      Case 3:13-cr-00418-AJB                     Document 84       Filed 06/11/13         PageID.283          Page 2 of 4


AO 2458 (CASD) (Rev. 1112) judgment In a Criminal Case
           Sheet 2   Imprisonment
                                                                                                                             4
 DEFENDANT: SERGIO CUEVAS (01)
 CASE NUMBER: 13CR0418-AJB
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons td be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes tbe following recommendations to tbe Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by e Bureau of Prisons:
          o before ----------------------------------------------------~--------------------
          o as notified by the United States Marshal.
          o as notified by tbe Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                                 to

 at _______________ , with a certified copy of this judgment.


                                                                                         UNITED TATES MARSHAL

                                                                   By




                                                                                                                   13CR0418-AJB
        Case 3:13-cr-00418-AJB                     Document 84              Filed 06/11/13             PageID.284               Page 3 of 4


AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                                                   4
DEFENDANT: SERGIO CUEVAS (01)
CASE NUMBER: 13CR0418-AJB                                                                             •
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
ONE (l)YEAR

         The defendant shall report to the probation office in the district to which the defendant is re eased within 72 hours of release from
the custody of the Bureau of Prisons.                                                                   I
The defendant shall not commit another federal, state or local crime.                                                       .
                                                                                                                            i
For offonses committed on or after September 13, 1994:                                                                      •
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from            a~
                                                                                                      unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment.and at least two periodic drug tests
                                                                                                                        J'-­
thereafter as determined by the court. Testing requirements will not exceed submission of more than i 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.
o      The above drug testing condition is suspended, based on the court's determination that the def! .ndant poses a low risk of
        future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerbus weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to sectiod 3 ofthe DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                      i
       The defendant shall comply with tHe requirements ofthe Sex Offender Registration and Notification Ac~ (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he lor she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)                                             :
o      The defendant shall participate in an approved program for domestie violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised rele1se that the defendant pay any sucb rme
or restitution that remains unpaid at the commencement oftbe term of supervised release in accordahce with tbe Schedule of Payments set
forth in this judgment.                                                                                  !


         Tbe defendant must comply with the standard conditions that have been adopted by this cot·. The defendant sball also comply with
any special conditions imposed.                                                                  .

                                        STANDARD CONDITIONS OF SUPERVISliN
  1)    the defendant sball not leave the judicial district without the permission of the court or probation officer;
                                                                                                                        !

  2)     the defendant shall report to the probation officer in a manner and frequency directed by the Icourt or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the ins!jructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;                  .
  5)
         acceptable reasons;                                                                                        r
         the defendant shall work regularly at a lawful occupation, unless excused by the probation Lfficer for schooling, training, or other

  6)     the defendant shall notify the probation officer at least ten days prior to any change in reside~ce or employment;
  7)                                                                                                           l,
         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, us distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prdscribed by a physician;
  8)                                                                                                                r.
                                                                                                                    1



         the defendant shall not frequent places where controlled substances are illegally sold, used, istributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
                                                                                                                    I
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewJere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two ho urs ofbeing arrested or .uestioned by a law enforcement officer;
 12)                                                                                                        ·
         the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)
                                                                                                            l
         as directed by the probation officer, the defendant shall notify third parties of risks that may bCl occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to maId:: such notifications and to confirm the
         defendant's compliance with such notification requirement.                                            I·




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           Case 3:13-cr-00418-AJB                      Document 84        Filed 06/11/13           PageID.285           Page 4 of 4


       AO 245B (CASD) (Rev. \/12) Judgment in a Criminal Case
                  Sheet 4 SpecIal Conditions
                                                                                                                                        4
       DEFENDANT: SERGIO CUEVAS (01)
       CASE NUMBER: 13CR0418-AJB




                                             SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Offic~r at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a co dition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises ay be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United S~es illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally_
o   Not enter the Republic of Mexico without written permission of the Court or probation officer.
~   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.           .
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or   ~ngerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer, take all med cations as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorize the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation. fficer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute .to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.            !



o   Take no medication containing a controlled substance without valid medical prescription, and proViJ.e proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as re uested.
o probation
    Be prohibited from opening checking accounts or incurring new credit charges or opening additiona lines of credit without approval of the
               officer.                                                                                    i


o Seek and maintain full time employment and/or schooling or a combination of both.
181 Resolve all outstanding warrants within 60 days.                                                    j.
o Complete hours of community service in a program approved by the probation officer withi
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o probation
    Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch tes '. g and counseling, as directed by the
               officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, ijased on the defendant's ability to pay.




                                                                                                                                    13CR0418-AJB
